
B.L. Thomas, C.J.
On December 20, 2017, the trial court issued an order of recusal in Appellant's case, and subsequently issued an order denying Appellant's motion to dissolve injunction, without prejudice to refile.
In the order of recusal, the judge indicated that he was aware of the grounds for recusal at the hearing on Appellant's motion, but still issued the order denying Appellant's motion after the hearing. We therefore vacate the order denying Appellant's motion to dissolve injunction and remand to the trial court for a new hearing on the motion. See Lance Block, P.A. v. Searcy, Denney, Scarola, Barnhart and Shipley, P.A. , 85 So.3d 1122, 1124 (Fla. 1st DCA 2012) (vacating order and remanding where trial judge "may well have known of the grounds for the recusal order when he entered the order" at issue) (footnote removed).
Wetherell and Winsor, JJ., concur.
